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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     )       CRIMINAL NO. 16-154 (KBJ)
                                              )
               v.                             )
                                              )
LUZ IRENE FAJARDO CAMPOS,                     )
                                              )
                       Defendant.             )


         GOVERNMENT’S REPLY IN FURTHER SUPPORT OF ITS MOTION
       IN LIMINE TO INTRODUCE EVIDENCE OF OTHER CRIMES AT TRIAL

       The United States of America, by and through counsel, respectfully submits this Reply in

Further Support of the Government’s Motion in Limine to Introduce Other Crimes Evidence at

Trial (Dkt. No. 48) (hereinafter the “Motion” or “Gov’t Other Crimes Mot.”). For the reasons set

forth below and in the Government’s previous Motion, the Defendant’s arguments are without

merit. Accordingly, the Court should grant the Government’s Motion.

I.     ARGUMENT

       A.      Evidence of Bribery During and in Furtherance of the Charged Conspiracy
               is Direct Evidence Not Subject to the 404(b) Analysis

       As stated in the Government’s Motion, evidence of the defendant’s bribery and

corruption of foreign officials is not subject to Federal Rule of Evidence 404(b) because these

were contemporaneous acts taken in furtherance of the Defendant’s drug trafficking activities,

and thus they are intrinsic to the charged conspiracy. The Defendant argues that the D.C.

Circuit’s criticism of broad definitions of “inextricably intertwined” in United States v. Bowie,

232 F.3d 923 (D.C. Cir. 2000), somehow renders the concept of intrinsic evidence inapplicable.

[Dkt. No. 55 at 4–5]. This is a misreading of Bowie. Although the D.C. Circuit rejected the

notion that evidence is intrinsic simply because it can “complete the story” or “explain the



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circumstances,” it also “recognize[d] that, at least in a narrow range of circumstances . . .

evidence can be ‘intrinsic to’ the charged crime.” Bowie, 232 F.3d at 929. Subsequently, this

Circuit has repeatedly reaffirmed the intrinsic-extrinsic evidence distinction. See, e.g., United

States v. McGill, 815 F.3d 846, 879 (D.C. Cir. 2016). One type of intrinsic evidence expressly

recognized in Bowie is “uncharged acts performed contemporaneously with the charged crime . .

. if they facilitate the commission of the charged crime.” Bowie, 232 F.3d at 929. The evidence

the Government seeks to introduce in this case as intrinsic to the charged offense is “the

Defendant’s use of bribery and corruption during the time period charged,” which she used “to

ensure the safe transport of the DTO’s narcotics without interference by law

enforcement.” [Gov’t Other Crimes Mot. at 7–8]. Thus, this bribery and corruption evidence

falls squarely within the circumstances identified in Bowie.

       Because evidence of the Defendant’s use of bribery and corruption during the time period

specified in the indictment is direct evidence of the crime charged, it is not subject to analysis

under Federal Rule of Evidence 404(b). Intrinsic evidence “by its very nature . . . does not involve

other crimes, wrongs or bad acts . . . there is no concern that it might be used as improper character

evidence,” and therefore Rule 404(b) does not apply. United States v. Lerma-Plata, 919 F. Supp.

2d 152, 156 (D.D.C. 2013). 1



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  Because intrinsic evidence is direct evidence of the crime charged, it is also not subject to the
notice requirement of Federal Rule of Evidence 404(b). As a result, the Gov’t Other Crimes
Mot. is not an exhaustive list of all evidence the Government will seek to admit as intrinsic to the
conspiracy. For example, the Government’s evidence will show that during the time period
charged in the conspiracy, the Defendant attempted to procure rifles through an associate in
order to remove the Defendant’s drug trafficking rivals from a particular territory in Mexico.
Such evidence of weapons possession and/or violence in furtherance of a drug trafficking
conspiracy is routinely admitted as intrinsic evidence. See, e.g., McGill, 815 F.3d at 881–82
(holding that evidence defendant sought to enlist other conspiracy members to kill an individual
to protect his reputation and to prevent interference with his drug dealing is direct evidence of
the conspiracy itself not subject to Rule 404(b) analysis).
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        B.        The Government has Provided Proper Notice of the Evidence it Seeks to Admit
                  Pursuant to Rule 404(b)

        The Defendant repeatedly asserts—without citing any authority—that she has not been

provided with sufficient facts regarding how the Government intends to prove at trial the other

crimes at issue. [See, e.g., Dkt. No. 55 at 5–6]. The Defendant misunderstands the notice to

which she is entitled. The text of Rule 404(b) states that the prosecutor should provide

“reasonable notice of the general nature” of the evidence sought to be introduced. Fed. R. Evid.

404(b)(2)(A). The Advisory Committee explicitly rejected a particularity requirement when it

amended Rule 404(b) to establish the pretrial notice requirement. The Advisory Committee

noted: “[N]o specific form of notice is required . . . . Instead, the Committee opted for a

generalized notice provision which requires the prosecution to apprise the defendant of the

general nature of the evidence of the extrinsic acts.” Fed. R. Evid. 404(b) advisory committee’s

note to 1991 amendment. “Courts have routinely denied requests by defendants for greater

particularity in 404(b) notice.” United States v. Watson, 409 F.3d 458, 466 (D.C. Cir. 2005)

(citing United States v. Watt, 911 F. Supp. 538, 556–57 (D.D.C. 1995)); see, e.g., United States

v. Kern, 12 F.3d 122, 124 (8th Cir. 1993) (holding Government’s statement that it “might use

evidence from some local robberies” was sufficient to describe the general nature of the acts to

be introduced pursuant to Rule 404(b); United States v. Schoeneman, 893 F. Supp. 820, 823

(N.D. Ill. 1995) (holding that the Government need not “turn over specific evidentiary detail” in

404(b) notice).

        Thus, the Defendant’s assertions that she has not been provided with sufficient, specific

information are without merit. Contrary to her assertions, the Defendant is not entitled to a

“discussion in the [g]overnment’s pleading as to how they intend to prove” these other crimes,

nor to the “details . . . as to date, time, location (other than the country), etc.” [Dkt. No. 55 at 6];

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see United States v. Rusin, 889 F. Supp. 1035, 1036 (N.D. Ill. 1995) (rejecting defendant’s

argument that Rule 404(b) notice requires the Government to disclose “dates, places, and persons

involved in the specific acts; documents that pertain to the acts, a statement of the issues to

which the Government believes such evidence may be relevant.”). The Government has

provided the Defendant with more than sufficient information regarding the general nature of the

evidence sought to be introduced pursuant to Rule 404(b).

       C.      If the Court Finds the Evidence of Bribery to Be Extrinsic to the Conspiracy,
               It is Properly Admitted as 404(b) Evidence. The Rest of the Other Crimes
               Evidence Identified by the Government in its Motion is Also Properly
               Admitted as 404(b) Evidence.

       Rather than repeat the arguments in its Motion, the Government believes it has identified

in its initial filing proper uses for the other crimes evidence it seeks to admit under Rule 404(b),

“a rule of inclusion rather than exclusion.” United States v. Long, 328 F.3d 655, 660–61 (D.C.

Cir. 2003). The Government further believes it demonstrated the evidence would not be

substantially more prejudicial than probative under Rule 403. The Government now simply

rebuts the Defendant’s claim that the Government has “enough” evidence. [Dkt. No. 55 at 7–8].

The defense implies the Government doesn’t need this evidence, and therefore its introduction

would be “overkill.” [Dkt. No. 55 at 8]. This is not a sound reason to exclude the relevant,

probative, and not unduly prejudicial evidence it seeks to admit. The fact that the Government

has other strong evidence that the Defendant trafficked narcotics for more than a decade should

not preclude the Government from marshalling its best evidence to put before a jury. In its

Motion, the Government seeks to admit valuable evidence, including: post-indictment statements

that demonstrate the Defendant’s intent, see United States v. Watson, 894 F.2d 1345, 1349 (D.C.

Cir. 1990) (holding that later acts may demonstrate an accused’s intent when fairly recent and

connected with prior material events); evidence of bribery to prove the Defendant’s knowing

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participation in the conspiracy, see United States v. Lorenzana-Cordon, 141 F. Supp. 3d 35, 42

(D.D.C. 2015), and to provide background and context to the Defendant’s drug trafficking

activities, see id. (holding that “[s]uch ‘completing the story’ evidence, although not admissible

as intrinsic evidence, may properly be admitted under 404(b) for any non-propensity purpose”);

and evidence that she attempted to establish a methamphetamine laboratory in the Democratic

Republic of the Congo in order to demonstrate the scope of the charged conspiracy and the

“organizational control” she exercised, see United States v. Mahdi, 598 F.3d 883, 891 (D.C. Cir.

2010). Under Rule 404(b) and the case law in this district, the Government should not be

constrained from presenting in its case-and-chief admissible, proper, non-cumulative evidence to

prove the Defendant’s participation as a high-ranking member in a conspiracy to distribute

narcotics for illegal importation into the United States.

                                          CONCLUSION

       For the foregoing reasons, the Government respectfully requests that this Court grant the

Government’s Motion to introduce intrinsic evidence and introduce other crimes evidence at trial.

                                                      Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via the Electronic Case Filing

(ECF) system with the United States District Court for the District of Columbia to counsel of

record for the Defendant, this 21st day of December 2018.



                                             By:      /s/ Anthony Aminoff
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